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I hereby certify that this instrument is a true and correct copy of
the original on file in my office. Attest: Sandy Opacich, Clerk
U.S. District Court, Northern District of Ohio
By: /s/Robert Pitts
Deputy Clerk
                                                    UNITED STATES JUDICIAL PANEL
                                                                 on
                                                     MULTIDISTRICT LITIGATION


      IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                                            MDL No. 2804


                                                                      TRANSFER ORDER


              Before the Panel:* Plaintiffs in 43 actions move under Panel Rule 7.1 to vacate the orders
      conditionally transferring their respective actions listed on Schedule A to MDL No. 2804. Central
      District of California plaintiff United Healthcare Services, Inc., also requests establishment of a separate
      MDL consisting of claims against Insys Therapeutics, Inc., in the District of Arizona. Various defendants1
      oppose the motions.

               After considering the arguments of counsel, we find these actions involve common questions of
      fact with the actions previously transferred to MDL No. 2804, and that transfer under 28 U.S.C. § 1407
      will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the
      litigation. Moreover, transfer is warranted for the reasons set forth in our order directing centralization.
      In that order, we held that the Northern District of Ohio was an appropriate Section 1407 forum for
      actions sharing factual questions regarding the allegedly improper marketing and distribution of various
      prescription opiate medications into states, cities, and towns across the country. See In re Nat’l
      Prescription Opiate Litig., 290 F. Supp.3d 1375, 1378-79 (J.P.M.L. 2017).

              Despite some variances among the actions before us, they share a factual core with the MDL
      actions: the manufacturer and distributor defendants’ alleged knowledge of and conduct regarding the
      diversion of these prescription opiates, as well as the manufacturers’ allegedly improper marketing of
      such drugs. See id. The actions therefore fall within the MDL’s ambit.



             *
            Judges Ellen Segal Huvelle and Nathaniel M. Gorton did not participate in the decision of this
        matter.
                 1
                  Amerisourcebergen Corp. and Amerisourcebergen Drug Corp.; Cardinal Health, Inc.,
        McKesson Corp. (distributor defendants); Allergan PLC, Allergan Finance, LLC; Actavis LLC,
        Actavis Pharma, Inc.; Barr Laboratories, Inc.; Cephalon, Inc.; Endo Health Solutions Inc., Endo
        Pharmaceuticals, Inc.; Insys Therapeutics, Inc.; Janssen Pharmaceutica, Inc.; Janssen
        Pharmaceuticals Inc.; Johnson & Johnson; Mallinckrodt plc; Mallinckrodt LLC;
        Ortho-McNeil-Jansenn Pharmaceuticals, Inc., Par Pharmaceutical Companies, Inc., Par
        Pharmaceutical, Inc., Par Pharmaceutical Companies, Inc.; Purdue Pharma L.P., Purdue Pharma,
        Inc., and The Purdue Frederick Company, Inc.; Rhodes Pharmaceuticals; SpecGx LLC; Teva
        Pharmaceutical Industries Ltd.;. Teva Pharmaceuticals USA, Inc., and Watson Laboratories, Inc.
        (manufacturing defendants).
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         The parties opposing transfer in 42 actions argue principally that federal jurisdiction is lacking
over their cases. But opposition to transfer based on a jurisdictional challenge is insufficient to warrant
vacating conditional transfer orders covering otherwise factually related cases.2 Several parties also argue
that including their actions in this large MDL will cause them inconvenience. Given the undisputed
factual overlap with the MDL proceedings, transfer is justified in order to facilitate the efficient conduct
of the litigation as a whole. See In re Watson Fentanyl Patch Prods. Liab. Litig., 883 F. Supp. 2d 1350,
1351-52 (J.P.M.L. 2012) (“[W]e look to the overall convenience of the parties and witnesses, not just
those of a single plaintiff or defendant in isolation.”).

          Central District of California plaintiff United HealthCare, which brings claims against Insys for
its role in United’s purported wrongful coverage of Subsys prescriptions, opposes transfer on the grounds
that its action, United Healthcare, is unique. United also requests the creation of an Insys-only MDL.
We deny the motion to vacate and the request to create a new MDL. Insys initiated Chapter 11
proceedings in early June 2019. Creating a new MDL is inadvisable at this time – no litigation is
ongoing at the moment against Insys, pursuant to the automatic stay,3 and Insys has yet to weigh in on
United’s proposal. Further, the United Healthcare action shares significant factual overlap with many
MDL actions. We recently transferred a third-party payor putative class action (of which United
presumably would be a member), the crux of which was that Insys perpetrated a scheme to defraud third-
party payors of prescription drugs by, among other things, impersonating physician office staff and
falsifying patient records to induce third-party payors to pay for prescriptions of Subsys. See Transfer
Order at 2, and In re Nat’l Prescription Opiate Litig., MDL No. 2804 (J.P.M.L. June 5, 2019) (ECF No.
4537). Moreover, Insys and its role in the proliferation of Subsys is at issue in hundreds of actions
brought by other MDL plaintiffs.




    2
      See, e.g., In re Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347-48
 (J.P.M.L. 2001).
    3
       Where transfer is otherwise appropriate, the Panel transfers actions under Section 1407 even
 if those actions currently are stayed as the result of bankruptcy proceedings. In re Ephedra Prods.
 Liab. Litig., 416 F. Supp. 2d 1358, 1359-60 (J.P.M.L. 2006) (transferring actions subject to
 bankruptcy stay). Section 1407 transfer does not affect the operation of the bankruptcy stay. Claims
 stayed in the transferor court remain stayed in the transferee court. The Panel is simply indicating
 the place where proceedings will occur when the stay is lifted. Any questions concerning the effect
 of the stay and any modification thereof are matters to be worked out by the involved courts and the
 parties.
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        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Northern District of Ohio and, with the consent of that court, assigned to the Honorable Dan A. Polster
for inclusion in the coordinated or consolidated pretrial proceedings.


                                      PANEL ON MULTIDISTRICT LITIGATION




                                                        Sarah S. Vance
                                                             Chair

                                     Lewis A. Kaplan                R. David Proctor
                                     Catherine D. Perry             Karen K. Caldwell
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IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                        MDL No. 2804


                                       SCHEDULE A

          Central District of California
     UNITED HEALTHCARE SERVICES, INC. v. INSYS THERAPEUTICS, INC.,
          C.A. No. 8:19!00545

           Northern District of California

     COUNTY OF ALAMEDA, CALIFORNIA, ET AL. v. PURDUE PHARMA L.P.,
           ET AL., C.A. No. 3:19!02307
     CITY OF COSTA MESA, ET AL. v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!02320
     CITY OF FULLERTON, ET AL. v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!02321
     CITY OF IRVINE, ET AL. v. PURDUE PHARMA L.P., ET AL., C.A. No. 3:19!02323
     CITY OF SANTA ANA, ET AL. v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!02324
     CITY OF WESTMINSTER, ET AL. v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!02325
     CITY OF SAN CLEMENTE, ET AL. v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!02326

           District of Maryland

     THE CITY OF ANNAPOLIS, MARYLAND v. PURDUE PHARMA L.P., ET AL.,
          C.A. No. 1:19!01162

           District of New Hampshire

     STRAFFORD COUNTY v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00325
     BELKNAP COUNTY v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00326
     CHESHIRE COUNTY v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00328
     TOWN OF BELMONT, NH v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 1:19!00329
     CITY OF CLAREMONT, NH v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 1:19!00331
     GRAFTON COUNTY v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00332
     ROCKINGHAM COUNTY v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00333
     SULLIVAN COUNTY v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00334

           Eastern District of Oklahoma

     PITTSBURG COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
           PHARMA, LP, ET AL., C.A. No. 6:19!00100
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         Northern District of Oklahoma

   CITY OF OWASSO v. PURDUE PHARMA L.P., ET AL., C.A. No. 4:19!00171

         Western District of Oklahoma

   CITY OF YUKON v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00280
   CITY OF MUSTANG v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00339
   CITY OF MIDWEST CITY v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00345
   CITY OF ENID v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00351

         Southern District of Texas

   COUNTY OF WALKER v. OPTUMRX, INC., ET AL., C.A. No. 4:19!01767

         Eastern District of Virginia

   FAUQUIER COUNTY, VIRGINIA v. MALLINCKRODT LLC, ET AL.,
         C.A. No. 1:19!00364
   BOARD OF SUPERVISORS, PRINCE WILLIAM COUNTY v. PURDUE PHARMA
         L.P., ET AL., C.A. No. 1:19!00365
   FAIRFAX COUNTY BOARD OF SUPERVISORS v. PURDUE PHARMA, L.P.,
         ET AL., C.A. No. 1:19!00544
   CITY OF CHESAPEAKE, VIRGINIA v. ACTAVIS, LLC, ET AL.,
         C.A. No. 2:19!00183
   ACCOMACK COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
         C.A. No. 2:19!00184
   NORTHUMBERLAND COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 3:19!00246

         Western District of Virginia

   CITY OF BRISTOL, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 1:19!00011
   LOUISA COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 3:19!00027
   MADISON COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 3:19!00028
   HALIFAX COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
         C.A. No. 4:19!00021
   CITY OF LEXINGTON, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 6:19!00021
   ROCKBRIDGE COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
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         C.A. No. 6:19!00025
   ROANOKE COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00271
   CITY OF ROANOKE, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00272
   CITY OF SALEM, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00273
   ALLEGHANY COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00275
   FRANKLIN COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00302
   FLOYD COUNTY, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00371
   CITY OF COVINGTON, VIRGINIA v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 7:19!00372
